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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    THINK COMPUTER CORPORATION,                         Case No.14-cv-01374-EDL
                                                       Plaintiff,
                                   8
                                                                                            ORDER DIRECTING PARTIES TO
                                                v.                                          FILE JOINT STATUS REPORT
                                   9

                                  10    SQUARE, INC.,
                                                       Defendant.
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                                  12          This patent infringement case was stayed on September 3, 2014 pursuant to stipulation of
Northern District of California
 United States District Court




                                  13   the parties pending completion of the Covered Business Method review of the patent in suit. As

                                  14   ordered, the parties filed a joint status update on September 1, 2017 in which they informed the

                                  15   Court that the Federal Circuit issued an opinion on July 24, 2017 affirming the Patent Trial and

                                  16   Appeals Board’s Final Written Decision and the mandate issued on August 30, 2017. They further

                                  17   informed the Court that the next step was for the United States Patent and Trademark Office to

                                  18   issue a certificate of reexamination.

                                  19          The parties are ordered to provide the Court with a joint status report by August 1, 2018 as

                                  20   to whether the certificate of reexamination has issued; what next steps, if any, the parties intend to

                                  21   take with the United States Patent and Trademark Office or Patent Trial and Appeals Board; and

                                  22   the propriety of maintaining the stay in this case in light of those proceedings.

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                                  24          IT IS SO ORDERED.

                                  25   Dated: July 23, 2018

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                                                                                                     ELIZABETH D. LAPORTE
                                  28                                                                 United States Magistrate Judge
